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  1                       UNITED STATES DISTRICT COURT

  2                       CENTRAL DISTRICT OF CALIFORNIA

  3             HONORABLE MICHAEL W. FITZGERALD, JUDGE PRESIDING

  4     OX LABS, INC.,                          )
                                                )
  5                                             )
                                                )
  6                             Plaintiff,      )
                                                )
  7                                             )
                                                )
  8                Vs.                          )   No. CV18-05934-MWF
                                                )
  9                                             )
                                                )
 10     BITPAY, INC., ET AL.,                   )
                                                )
 11                                             )
                                                )
 12                             Defendants.     )
                                                )
 13     ________________________________        )

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 16                   REPORTER'S TRANSCRIPT OF PROCEEDINGS

 17                           TELEPHONIC CONFERENCE

 18                           LOS ANGELES, CALIFORNIA

 19                          MONDAY, FEBRUARY 10, 2020

 20

 21

 22                     MIRIAM V. BAIRD, CSR 11893, CCRA
                      OFFICIAL U.S. DISTRICT COURT REPORTER
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 25



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  1                            A P P E A R A N C E S

  2

  3     IN BEHALF OF THE PLAINTIFF,         LEIDER & AYALA-BASS LLP
        OX LABS, INC.:                      BY: PHILIP LEIDER, ATTORNEY
  4                                         AT LAW SPEAR TOWER ONE
                                            MARKET PLAZA 36TH FLOOR SAN
  5                                         FRANCISCO, CALIFORNIA 94105

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  9
        IN BEHALF OF THE DEFENDANTS,        RUSS AUGUST & KABAT
 10     BITPAY, INC., ET AL.:               BY: JAMES TSUEI, ATTORNEY
                                            AT LAW 12424 WILSHIRE
 11                                         BOULEVARD 12TH FLOOR LOS
                                            ANGELES, CALIFORNIA 90025
 12
                                            MORRIS MANNING & MARTIN LLP
 13                                         BY: LAWRENCE KUNIN,
                                            ATTORNEY AT LAW 3343
 14                                         PEACHTREE ROAD NE SUITE
                                            1600 ATLANTA, GEORGIA 30326
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  1        LOS ANGELES, CALIFORNIA; MONDAY, FEBRUARY 10, 2020; 1145

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  4                  THE CLERK:    Calling Item 3, CV18-05934, Ox Labs,

  5     Inc, vs. Bitpay, Inc., et al.

  6                  MR. LEIDER:   Philip Leider for plaintiff Ox Labs.

  7                  MR. KUNIN:    Your Honor, this is Lawrence Kunin on

  8     behalf of defendant Bitpay.      Also is James, introduce

  9     yourself.

 10                  MR. TSUEI:    James Tsuei, Your Honor, for defendant

 11     Bitpay.

 12                  THE COURT:    Good morning, Counsel.    This is a

 13     telephonic status conference, obviously.        However, I am on

 14     the bench.    The court reporter is making a record, and

 15     pursuant to the First Amendment, the courtroom is open to the

 16     public.   In fact, no one is here but my staff.

 17                  The reason I wanted to have this conference was to

 18     get your thoughts in light of my last order.         As a technical

 19     matter, there could still be a trial on, if nothing else, the

 20     precise nature of the damages such as they are on the

 21     conversion claims, since that was established as a matter of

 22     law.   It would seem to me preferable that the parties not do

 23     that, but that would be your right.       If I thought that it --

 24     the issues were that clear-cut, I would have just simply said

 25     as much and entered judgment.



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  1                  So, I guess, really it's I -- I should be

  2     addressing this first to Ox Labs.       Have you and opposing

  3     counsel had the opportunity to think about or consult with

  4     your client as to where we go from here, if anywhere.          If the

  5     answer is we can't believe how wrong you were in that last

  6     order, and you want to get to the Ninth Circuit as soon as

  7     possible, I will understand that.       I will enter judgment as

  8     soon as I can.    I need to know what it is that you believe is

  9     left for your client at this point.

 10                  MR. LEIDER:   Your Honor, I have discussed it with

 11     my client.    I've also discussed it with the other side.        Our

 12     belief is that the amount -- the difference in amount for

 13     that brief period of time that Your Honor has held that the

 14     bitcoins might have been sold is immaterial --

 15                  THE COURT:    Right.

 16                  MR. LEIDER:   -- and that we would like to take an

 17     appeal to the Ninth Circuit of the ruling.

 18                  THE COURT:    Given how new the law is here and how

 19     much I had to wrestle with it, I'm not surprised.         In fact,

 20     regardless of what the ruling is, I have no doubt many other

 21     district judges will welcome the guidance that we will get.

 22                  Is there anything from Bitpay then?

 23                  MR. KUNIN:    Your Honor, there's not.    I've also

 24     spoken it over with my client.       I agree with Mr. Leider that

 25     the differential in price is not that significant between



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  1     July 10th and 14th.       So, you know, however they would like to

  2     proceed --

  3                  THE COURT:    That's the next question.

  4                  MR. KUNIN:    With regard to --

  5                  THE COURT:    I'm sorry, Mr. Kunin.

  6                  Should the judgment be then for the amount that was

  7     tendered?    Should it be -- in that case, I'm not going to

  8     award costs here to Ox Labs, because obviously, Bitpay has

  9     been willing to pay that amount.       So it's really just purely

 10     a matter of form that I should dismiss the case as moot in

 11     that case, because we all know that Bitpay has always been

 12     ready, willing, and able to pay the amount?         Should I wait a

 13     few days so there can be a new check?        I'd like the guidance

 14     of counsel so when it does go up to the Circuit, the Circuit

 15     can focus on the real issues here and not some, you know,

 16     procedural mistake that I might have made not knowing what

 17     the parties believed to be the proper form of the judgment to

 18     be.

 19                  MR. LEIDER:    So this is Mr. Leider for Ox Labs.      I

 20     don't believe the case is moot.       First of all, the tender did

 21     not include interest.      That's undisputed.    The statute

 22     clearly calls for interest on the date of conversion.          So if

 23     we were going to try the case, there's still an issue of the

 24     date of conversion, and whatever date you choose, the

 25     factfinder finds that there will be interest from that date



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  1     forward to the entry of judgment.       So the tendered amount

  2     doesn't include interest.

  3                 THE COURT:   Mr. Kunin.

  4                 MR. KUNIN:   The reason or one of the main reasons

  5     for the tender in the first place is to cut off interest.

  6     And so it certainly wouldn't hold up.        We wouldn't have a

  7     trial over interest that occurred from the date of the error

  8     until the date of tender.      Our position is that there

  9     shouldn't be interest after that date.        That is part of what

 10     we briefed.    By making that tender, we could essentially cut

 11     it off.    It wasn't our fault they didn't take the money.

 12     Interest occurs on something that we had already tendered to

 13     them.

 14                 You know, it's one of those things where if

 15     Your Honor wants to enter some kind of judgment, I'm sure we

 16     could work out what a number would be that goes in there.

 17     Certainly, the check that we tendered is probably no good

 18     anymore.   I think checks are no good after like 18 months.

 19     We would have to reissue that.

 20                 THE COURT:   All right.    Excuse me, Mr. Kunin, for

 21     speaking over you.     I'm going to set a date for after the

 22     holiday, the Tuesday the 18th.       And on Tuesday, the 18th, the

 23     parties will submit a document to me.        They will either say

 24     this is the form of judgment that we believe is appropriate,

 25     and you can agree on that.      If there is some remaining thing,



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  1     whatever it is in the case that prevents me in the view of

  2     one or the other of the parties or both from entering

  3     judgment, you will say what that is and you will say how you

  4     propose it be dealt with.      Like you issue another order, we

  5     do this.    Whatever it is.    So I'll give you no more than five

  6     pages on both sides.      You will -- the defendant will get its

  7     five pages to the plaintiff.      The plaintiff will have the

  8     obligation of assembling the document and getting it filed

  9     through Pacer no later than the end of day of the 18th.

 10                 Of course, the reason I'm giving you this timeline

 11     is because I would love for the two of you to agree on the

 12     form of judgment.     So like I said, it's silly to force the

 13     Circuit to focus on something that is not so important that

 14     could be avoided when there's plenty of things here for the

 15     Circuit to actually grapple with.       You have my best wishes in

 16     trying to agree on the form of judgment between now and the

 17     18th.   If you don't, tell me what the disagreement is and how

 18     you want me to resolve it.      I will read that and I will let

 19     you know.

 20                 Any questions Mr. Leider.

 21                 MR. LEIDER:    No, Your Honor, thank you.

 22                 THE COURT:    Any questions, Mr. Kunin?

 23                 MR. KUNIN:    No, Your Honor.

 24                 THE COURT:    Thank you, Counsel.    Good luck with

 25     this.   Obviously, I've said this to you before, but it never



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  1     hurts to say it again.      The briefs were very, very good in

  2     this case.    To the extent at times I was a little frustrated,

  3     I -- that came through, it was really more being frustrated

  4     with the lack of guidance under California law not

  5     frustration with the zeal with which you represented your

  6     clients.   Thank you.

  7                  MR. LEIDER:   Appreciate it.

  8                  THE CLERK:    This concludes the hearing.

  9                  (Proceedings concluded at 11:55 a.m.)

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  1                                  CERTIFICATE

  2     I HEREBY CERTIFY THAT THE FOREGOING IS A TRUE AND CORRECT

  3     TRANSCRIPT OF THE STENOGRAPHICALLY RECORDED PROCEEDINGS IN

  4     THE ABOVE MATTER.

  5     FEES CHARGED FOR THIS TRANSCRIPT, LESS ANY CIRCUIT FEE

  6     REDUCTION AND/OR DEPOSIT, ARE IN CONFORMANCE WITH THE

  7     REGULATIONS OF THE JUDICIAL CONFERENCE OF THE UNITED STATES.

  8

  9     /s/ Miriam V. Baird                  05/04/2020

 10     MIRIAM V. BAIRD                            DATE
        OFFICIAL REPORTER
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